Case 2:03-cr-20343-BBD Document 186 Filed 06/10/05 Page 1 of 2 PagelD 243

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IN THE UNITED sTATES DISTRICT COURT F”ED ‘3"’ §J.c,
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 95 JU§§ 10 pH q, 03
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UNITED STATES oF AMERICA, ft E§§§:, ' ';31§§0'€§9
§.rt) orr §`§§ §§§§§.§‘v§»§;g’
Plaintiff,
vs. Case No. 03cr20343-D

CRYSTAL N. GREER

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Chad Chandler at 4710 Violet Ave., Memphis, TN 38122 in full refund of the cash

appearance bond posted herein.

 

United States District Judge

Approved.
Robert R. Di Trolio Clerk of Court

BY: i[i/L£MLL /‘ULWW

Deputy Clerk

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 186 in
case 2:03-CR-20343 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

